Case 3:17-cv-00072-NKM-JCH Document 572 Filed 10/10/19 Page 1 of 5 Pageid#: 7015




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, HANNAH
    PEARCE, MARCUS MARTIN, NATALIE
    ROMERO, CHELSEA ALVARADO,
    THOMAS BAKER and JOHN DOE,

                                            Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
                                                          Civil Action No. 3: 17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSELY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS, LEAGUE
    OF THE SOUTH, JEFF SCHOEP, NATIONAL
    SOCIALIST MOVEMENT, NATIONALIST
    FRONT, AUGUSTUS SOL INVICTUS,
    FRATERNAL ORDER OF THE ALT-
    KNIGHTS, LOYAL WHITE KNIGHTS OF THE
    KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                                           Defendants.



                                  APPEARANCE OF COUNSEL

  To: The clerk of court and all parties of record
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         I, Joshua M. Siegel, am admitted to practice in this Court, and I appear in this case as co-

  counsel for Plaintiffs.

  Dated: October 10, 2019

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                                     CERTIFICATE OF SERVICE

         I hereby certify that on October 10, 2019, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

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           I further hereby certify that on October 10, 2019, I also served the following non-ECF
  participants, via electronic mail, as follows:

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